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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                            Chapter 11
      In re:
                                                            Case No. 23-12825
      LTL MANAGEMENT LLC,
                                                            Honorable Michael B. Kaplan
                              Debtor.


                       MRHFM’S JOINDER TO AHC’S OMNIBUS
                   OBJECTION TO THE DEBTOR’S FIRST DAY RELIEF

        MRHFM joins the Ad Hoc Committee of Certain Talc Claimants’ Omnibus

 Objection to all the Debtor’s requested first day relief. See Dkt. 103. MRHFM fully

 supports the arguments advanced in AHC’s Informational Brief (Dkt. 79), and filed its

 own Statement (Dkt. 97) against this fraudulent bankruptcy.

        Subject matter jurisdiction cannot be created by settlement or consent. The safe

 harbor of bankruptcy is only available to putative debtors in financial distress that filed

 their petitions in good faith. LTL Management meets none of these criteria, as the Third

 Circuit already ruled. In re LTL Mgmt., LLC, 2023 WL 2760479 (3d 2023).
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 Sincerely:
 MAUNE RAICHLE HARTLEY
 FRENCH & MUDD, LLC

 /s/ Suzanne M. Ratcliffe
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